99 F.3d 1133
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Billy Truman WINGO, Plaintiff-Appellant,v.Sergeant KING, Pulaski Correctional Unit;  CorrectionalOfficer Hammer, Pulaski Correctional Unit,Defendants-Appellees.
    No. 96-7028.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 17, 1996/Decided Oct. 25, 1996.
    
      Billy Truman Wingo, Appellant Pro Se.  Susan Campbell Alexander, Assistant Attorney General, Richmond, Virginia, for Appellees.  Judge.  (CA-96-365)
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Wingo v. King, No. CA-96-365 (W.D.Va. June 25, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    